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                                       [REDACTED]

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                Case No. 1:14-cv-21385-JAL

   WREAL, LLC, a Florida Limited Liability
   Company,

         Plaintiff,

   v.

   AMAZON.COM, INC., a Delaware
   corporation,

         Defendant.




                               AMAZON’S REPLY
              IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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                                      I.      INTRODUCTION
           WREAL’s theory that an appreciable number of consumers will believe Amazon is

   responsible for the FyreTV streaming pornography service has always been far-fetched.

   Discovery has now made clear this theory is unsupportable. There is no evidence of actual

   confusion. There is no real dispute the marks’ retail outlets, advertising media, target audiences,

   and presentations in commerce are very different.1 WREAL’s own experts have conceded key

   elements of its case. WREAL’s Dr. Linda Williams testified consumers “would not confuse”

   FyreTV.com with a mainstream website that does not sell hardcore pornography.2 WREAL’s Dr.

   Thomas Maronick conducted surveys, which WREAL tried desperately and unsuccessfully to

   shield from discovery, which showed “very low” confusion. Mot. at 7.

           WREAL has now apparently retreated to the theory that surveys show no evidence of

   confusion because                                                    .3 WREAL claims

       “likely to happen in the near future.” Resp. at 1 n.1. But the Lanham Act does not create a

   cause of action for hypothetical and speculative future confusion. “[R]ecovery under the Lanham

   Act requires, at a minimum, ‘that confusion, mistake, or deception be ‘likely,’ not merely

   ‘possible.’” Custom Mfg. & Eng’g, Inc. v. Midway Servs., Inc., 508 F.3d 641, 651 (11th Cir.

   2007) (citation omitted); see ECF No. 130 at 17. WREAL cannot now reverse course and claim

   it is too soon for confusion to be evident given its allegations that the Amazon Fire TV launch

   was “covered extensively by the press,” and backed by a “massive national television campaign”

   (ECF No. 1 at 30, 32). See Tiger Direct, Inc. v. Apple Computer, Inc., No. 05-21136, 2005 WL

   1458046, at *21 (S.D. Fla. May 11, 2005). (“Given the substantial press garnered by Apple’s

   1
     See Amazon’s Statement of Undisputed Facts (ECF No. 206) (“SUF”); WREAL’s Response to
   Defendant Amazon’s Statement of Undisputed Facts and Statement of Facts in Dispute (ECF No.
   263) (“RSUF”) ¶¶ 2, 4-6, 12, 14-15, 26-27, 37, 39, 41-42. WREAL claims to dispute some of
   these facts; however, as explained in more detail below, WREAL’s “disputes” typically just
   insert additional facts that do not contradict Amazon’s factual assertions. This is insufficient to
   avoid summary judgment. Fed. R. Civ. P. 56(c)(1).
   2
     Amazon’s Motion for Summary Judgment and Supporting Memorandum of Law (ECF No.
   205) (“Mot.”) at 15-16.
   3
     WREAL’s Response in Opposition to Amazon’s Motion for Summary Judgment (ECF No.
   261) (“Resp.”) at 1 n.1.

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   Tiger, the Court does not credit TigerDirect’s argument that it is too early to assess whether there

   is actual confusion in the marketplace . . . .”).

           The Court’s findings at the preliminary injunction stage rested on evidence that was not

   truly disputed even then, nor has that evidence changed. For example, Amazon has not suddenly

   decided to advertise on adult websites, permit pornographic apps, or repeal the content policy

   that prohibits pornography on Amazon Instant Video (AIV), which streams to the Amazon Fire

   TV. See ECF No. 177 at 11-13. A party opposing summary judgment “must do more than simply

   show that there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co.

   v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Yet “metaphysical doubt” is all WREAL

   offers: no evidence of actual confusion, no survey evidence in its favor, no evidence that

   Amazon markets the Amazon Fire TV to customers interested in streaming hardcore

   pornography. With no true dispute as to the material facts, this Court should grant summary

   judgment.4

                                           II.     ARGUMENT
   A.      No Reasonable Fact-Finder Could Find Likelihood of Confusion.

           1.      Distinctiveness of Marks.

           The parties agree “Amazon,” “FyreTV,” and “Amazon Fire TV” are strong and

   distinctive. See ECF 130 at 17. There is no factual dispute Amazon typically (though not

   invariably) uses “Amazon” next to its products’ brand names (such as “Echo,” “Fire Phone,” and

   “Fire TV”).5 Even when Amazon does not use “Amazon” next to “Fire TV,” the product still
   “appears on Amazon’s website, an Amazon-branded marketplace with other Amazon-branded

   products” (SUF ¶ 34). The Court’s previous observation that the “Amazon” mark “could help


   4
     WREAL claims likelihood of confusion “ordinarily cannot be resolved on summary judgment”
   (Resp. at 3), but its case in fact held: “Although likelihood of confusion generally is a question of
   fact, it may be decided as a matter of law.” Alliance Metals, Inc. of Atlanta v. Hinely Indus. Inc.,
   222 F.3d 895, 907 (11th Cir. 2000) (cited in Resp. at 3 n.2). See Mot. at 6-7.
   5
     See SUF ¶ 24 (Amazon “often” uses housemark next to product name); RSUF ¶ 24 (Amazon
   “does not consistently” use its housemark).


                                                       2
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   distinguish the products” (ECF No. 177 at 10) is consistent with the Eleventh Circuit’s

   observation in a forward confusion case that a housemark can make confusion less likely.

   Custom Mfg., 508 F.3d at 652 n.10. WREAL provides no authority for a different rule here.6

          2.      Similarity of Marks.

          WREAL’s proposed rule is that marks that share some similarities create a fact issue

   because “similarities carry more weight than differences.” Resp. at 9. This is not the law.7 Also,

   as WREAL concedes people can only become FyreTV customers by signing up on WREAL’s

   FyreTV.com website,8 its argument that Amazon “ignores Wreal’s mark as it appears in other

   contexts” (Resp. at 8) is irrelevant: a customer opening a FyreTV account will always encounter

   the (undisputed) features that distinguish WREAL’s site from a general consumer website such

   as Amazon’s: (1) a warning screen requiring users to confirm they are over 18 and willing to

   view adult content, and (2) an immediate barrage of pornography – several rows of highly

   explicit pornographic images on the homepage and many different lurid pornographic genres on

   the “categories” page. SUF/RSUF ¶¶ 2-6.

          WREAL argues “there is evidence that Amazon’s mark, to the relevant consumers, also

   appears alongside pornography,” (Resp. at 8), citing RSUF ¶ 34, which cites an unauthenticated

   printout of what appears to be Amazon’s website from a customer named “Paul” who had


   6
     The Court previously distinguished contrary authority because the marks were identical in
   those cases and are not here. ECF No. 177 at 9-10. In A&H Sportswear, Inc. v. Victoria’s Secret
   Stores, Inc., 237 F.3d 198 (3rd Cir. 2000) (cited in Resp. at 6 n.5 & 7 n.4), the court specifically
   did not determine which way the housemark weighed. Id. at 230.
   7
     Mot. at 12-13 & n.17; see World Triathlon Corp., Inc. v. Dawn Syndicated Productions, No.
   05-983, 2007 WL 2875456, at *5 (M.D. Fla. Sept. 28, 2007) (granting summary judgment to
   defendant; “[t]he mere fact that both marks” incorporate a form of the same word “does not
   render the marks sufficiently similar to establish likelihood of confusion”) (collecting cases);
   ECF No. 177 at 11 (“The fact that there are some similarities does not raise the issue to one of
   substantial confusion.”). WREAL’s case agrees; it held the differences in the marks meant this
   factor weighed in defendant’s favor: “Although similarities are to be weighed more heavily than
   differences, the differences in this case are significant enough to lead us to conclude that this
   factor weighs in favor of [defendant].” Sally Beauty Co., Inc. v. Beautyco, Inc., 304 F.3d 964,
   973 (10th Cir. 2002) (cited in Resp. at 9 n.11).
   8
     “[A] customer must sign up for an account on Wreal’s fyretv.com website” (RSUF ¶ 3).


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   apparently previously searched for pornographic magazines. Id. (citing Marfoe Decl. Ex. 15).

   Yet WREAL’s lone example still has plenty of mainstream consumer content, such as “Black

   Friday” promotions and ads for running shoes (id.), easily distinguishing it from the row upon

   row of pornography at FyreTV.com. SUF/RSUF ¶¶ 5-6; see Mot. at 13.

          3.     Similarity of Products.

          WREAL argues the products are similar at some general level because both “identify a

   streaming video service.” Resp. at 10. However, the Eleventh Circuit has rejected the idea that

   general similarities (both products are food, both are bicycles, both are restaurants) make

   products so similar that consumers are likely to confuse them. Mot. at 14.9 WREAL also argues

   the clear differences between mainstream content and hardcore pornography have no legal

   relevance because the products are “complementary” – a term WREAL defines as goods that are

   “so related that when paired, they enhance the value of the products by increasing the offering,”

   giving examples such as French brandy and French wine, movies and conventions selling movie

   memorabilia, and email notification software and a service allowing email to be checked from a

   phone. Resp. at 9-13. But here, mainstream content and hardcore pornography are kept separate

   in ways WREAL’s examples are not: with over-18 opt-in screens that warn about adult content

   (SUF/RSUF ¶ 4), separate advertising channels (adults-only websites (SUF/RSUF¶ 15) versus

   national broadcast television (SUF/RSUF ¶ 37)), content policies that police the boundaries

   between hardcore pornography and mainstream content (SUF/RSUF ¶ 33),10 parental controls to
   keep adults-only content away from children (SUF/RSUF ¶ 27), and an outright ban on

   pornographic apps for the Amazon Fire TV (SUF/RSUF ¶ 32). The simplest way to see the

   9
      WREAL attempts to discredit Ross Bicycles v. Cycles USA, Inc., 765 F.2d 1502 (11th Cir.
   1985) as superseded by later cases (Resp. at 9 n.12). However, the Eleventh Circuit has never
   overruled Ross, and trial courts have repeatedly relied on it, including for its analysis of
   similarity of products. See, e.g., Tiger Direct, 2005 WL 1458046, at *17.
   10
      WREAL asserts Amazon’s pornography policy allows some older explicit movies. RSUF ¶ 33.
   However, WREAL cites the wrong policy. The Amazon Instant Video (AIV) content policy
   governing Amazon Fire TV content bars all “pornography.” Bageant Decl. Ex. 22. The Court has
   already excluded WREAL’s other examples (sex toys and DVDs on Amazon’s website) (Resp.
   at 11 n.15) as irrelevant (ECF No. 176 at 2).


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   difference is to compare Amazon’s AIV anti-pornography policy (ECF No. 206-1 (hereinafter

   “Bageant Decl.”) Ex. 22) with the FyreTV.com homepage (Bageant Decl. Ex. 1):

                                           is graphically present on FyreTV.com. WREAL’s use of

   “Netflix” demonstrates the point: WREAL calls itself the “Netflix of Porn” to illustrate it is in a

   different market than a mainstream media company like Netflix. SUF/RSUF ¶ 13.11 This is why

   Sunenblick v. Harrell, 895 F. Supp. 616 (S.D.N.Y. 1995) – which Amazon discussed extensively

   (Mot. 14-15) but WREAL does not even mention – is particularly instructive: it emphasizes

   (consistent with Eleventh Circuit law) that products are not “similar” if consumers do not
   perceive them as related because they are kept separate in the marketplace.12 And here,

   WREAL’s expert Dr. Linda Williams conceded – in a passage WREAL does not contest – that

   consumers do not perceive mainstream websites as similar to hardcore pornography websites.

   Mot. at 16 (citing Williams Dep. at 164:9-14).

          WREAL then asserts the Amazon Fire TV “offers . . . pornography” (Resp. at 12-13),

   citing the “Showtime” channel app (RSUF ¶ 32) and a video purporting to show an unidentified

   person accessing an explicit movie on “Showtime” (ECF No. 260). However, the presence of

   one adult-oriented movie – not even available through AIV but through a separately branded

   third-party cable channel app – hardly shows the total AIV content is so similar to FyreTV’s

   content to create a fact issue as to confusion, particularly where the video is so-called “soft-core”

   pornography very unlike the hardcore material that makes up most of WREAL’s offerings.

   SUF/RSUF ¶¶ 2, 45.13

   11
      WREAL claims it “disputes” this fact, but it merely cites the same testimony Amazon cites, in
   which WREAL’s Rodrigo Franco does not claim WREAL and Netflix operate in the same
   market: “Q. You call yourself the Netflix of porn because you are in a different market than
   Netflix, but both you and Netflix offer streaming video? A. Right. . . . Q. Netflix isn’t your
   competitor, is it? A. No, not at the time.”) (Tr. 120:12-15, 19-20, cited in SUF/RSUF ¶ 13).
   12
      WREAL asserts it is significant that “Comcast” and “major hotel chains” stream mainstream
   and adult content, relying on Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188 (11th
   Cir. 2001). Resp. at 11-12. However, in Planetary Motion, e-mail notification software and a
   service that allows users to check e-mail through a telephone line were not kept clearly separate
   in the marketplace, as are the products here.
   13
      WREAL’s claimed “dispute” as to this fact (SUF/RSUF ¶ 45) only cites its expert Dr. Linda


                                                       5
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          4.      Similarity of Sales Outlets and Customer Base.

          WREAL does not dispute FyreTV and Amazon Fire TV are not sold in the same retail

   outlets (SUF/RSUF ¶¶ 41-42). WREAL argues Amazon’s Fire TV customer base should be

   considered “similar” to WREAL’s pornography customer base because “people that watch

   streaming online pornography” also “watch streaming mainstream content.” Resp. at 14. This

   argument would mean nearly any customer bases would be “similar” – for example, consumers

   who buy sugar might also buy pizza, and thus pizza customers and sugar customers would be

   “similar.” But see Amstar Corp. v. Domino’s Pizza, 615 F.2d 252, 262 (5th Cir. 1980); ECF No.

   177 at 12 (rejecting “expansive interpretation” that “the parties share the same customer base of

   internet shoppers and humans over eighteen years of age”). Here, as the Court previously noted,

   the key inquiry is whether Amazon markets the Amazon Fire TV to customers specifically in the

   market for streaming pornography (ECF No. 177 at 12). No reasonable fact-finder could draw

   this conclusion. SUF/RSUF ¶¶ 30-33.14

          5.      Similarity of Advertising.

          There is no dispute WREAL does not use Amazon’s advertising channels: the

   Amazon.com homepage, television, print media, and in-store displays. SUF/RSUF ¶ 37.

   WREAL claims its advertising is “constantly evolving” (Resp. at 15), but does not dispute it

   stopped advertising in channels Amazon uses such as print and TV no later than 2012 (SUF ¶
   14). Nor does WREAL dispute it advertises on adult websites, which Amazon does not.

   SUF/RSUF ¶ 15. WREAL claims the advertising is similar because both parties use “social

   Williams, who opined “softcore” pornography is related to “hardcore pornography” in that it
   provides “erotic stimulation” – a plainly overbroad test that (by Dr. Williams’s own admission)
   would also make bicycles, Greek statutes, and G-rated movies “related to” hardcore pornography
   (ECF No. 210 at 4-8; Bageant Decl. Ex. 34 (Williams Dep.) at 93:6-10; 114:7-20; 116:7-117:12)
   and has nothing to do with whether consumers perceive the content as related. ECF No. 210 at
   11-14. Dr. Williams separately confirmed the various features that separate hardcore
   pornography from so-called “soft-core” pornography. SUF ¶ 45.
   14
      This is very different from Frehling Enterprises, Inc. v. International Select Group, Inc., 192
   F.3d 1330 (11th Cir. 1999) (cited in Resp. at 14), where the Eleventh Circuit rightly noted the
   audiences were similar in that they were shopping for furniture “marketed as having an Italian
   design,” advertised in “similar types of magazines.” Id. at 1338-39.


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   media, email, and search engines” and “word of mouth” (Resp. at 15) but these methods are so

   broad as to make the advertising factor useless, as nearly every mark in commerce uses these

   channels.15

          6.          Intent.

          There is no dispute Amazon selected the “Fire” brand for the Amazon Fire TV not out of

   some nefarious desire to confuse WREAL’s customers but as a logical extension of its previous

   use of “Fire” on streaming media products such as its tablets. SUF/RSUF ¶ 23. There is nothing

   “careless” (Resp. at 16) about knowing about WREAL’s mark but moving forward with a

   different product that targets a different market, especially as pornography is so far from what

   Amazon does as a company. Bageant Decl. Ex. 2 at 211:6-212:3; see ECF No. 177 at 14.

   WREAL argues Amazon wanted to “push Wreal out of the market,” (Resp. 16) but the

   undisputed facts show the opposite:

                                                                                           Rather –

   as the material WREAL cites makes clear (RSUF ¶ 31) – Amazon’s




                 16




   15
      In Frehling, by contrast, both parties advertised in interior design magazines – Design Times
   and House Beautiful for one and Interior Design and Architectural Digest for the other. Frehling,
   192 F.3d at 1339-40. Here, it is not the case that Amazon advertises in People and WREAL in
   Us Weekly; rather, WREAL does not advertise in magazines at all.
   16
      Specifically:

   Marfoe Decl. Ex. 9 (Lindsay Dep. 158:11-16) (emphasis added), cited in RSUF ¶ 31. Nor is
   there anything inappropriate about wanting to “own and define” a non-trademarked name such as
   “Amazon Fire TV” (Resp. 16) or using the “Amazon” housemark next to “Fire TV” because—in
   WREAL’s version of the facts, which hardly helps WREAL – Amazon wanted to distinguish its
   product from WREAL’s (RSUF ¶57). In fact, though this fact is not necessary for this factor to
   weigh in Amazon’s favor, Amazon used its housemark next to “Fire TV” for the same reason it
   used it next to “Echo” and “Fire Phone”:
                                     Amazon’s Response to Plaintiff WREAL’s Additional Facts
   Which WREAL Contends Are Material (filed herewith) ¶57.


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          7.      Actual Confusion.

          No reasonable fact-finder could conclude WREAL has shown actual confusion.

   WREAL’s customers contacted it not, as WREAL falsely claims, “expressing an association”

   between Amazon and WREAL (Resp. at 17) but rather simply asking if WREAL’s FyreTV app

   would be available on the Amazon Fire TV (and other platforms such as Google TV).

   SUF/RSUF ¶ 40; Mot. 10-11. The single inquiry to Amazon is similar; even if it were stretched

   as evidence of actual confusion, it is de minimis in light of the tens of thousands of customer

   service inquiries (or, in WREAL’s preferred formulation, in light of WREAL’s 51,000

   customers) (Resp. at 17; SUF/RSUF ¶ 40). ECF No. 177 at 14-16; Mot. at 10 & n.13.17

          WREAL also does not dispute that two separate sets of surveys, conducted at two

   different times, found consumer confusion to be “very low” (WREAL’s Dr. Thomas Maronick)

   or “statistically insignificant” (Amazon’s Dr. Dan Sarel). SUF/RSUF ¶¶ 47-48. Instead, WREAL

   claims the surveys are unreliable (id.) because the Eveready format requires a certain threshold

   level of “unaided”18 awareness. Resp. at 1 n.1. However, WREAL cites no authority for this

   proposition (id.) and the leading authority disagrees Eveready requires a certain level of

   “unaided” awareness.19 See Mot. at 8-9, ECF No. 250 at 5-12. Courts have stated Eveready is

   proper in reverse confusion cases without imposing a separate “unaided” awareness requirement

   or even requiring that the junior mark be heavily advertised or particularly well-known: in one


   17
      Both Caliber Automotive Liquidators, Inc. v. Premier Chrysler, Jeep, Dodge LLC, 605 F.3d
   931 (11th Cir. 2010) and Ryder System, Inc. v. Storage & Moving Solutions, Inc., No. 13-61466,
   2013 WL 3873231 (S.D. Fla. July 25, 2013) (cited in Resp. at 17-18) had substantial actual
   confusion: car dealerships representing “a large portion of [plaintiff’s] Georgia business” in
   Caliber (605 F.3d at 938 n.29), and several customers contacting the plaintiff to complain about
   the defendant’s service in Ryder. 2013 WL 3873231, at *3.
   18
      “Unaided” awareness is measured by open-ended questions that do not cue the respondent in
   any way that would suggest the name of the brand.
   19
       See Jerre B. Swann, “Likelihood of Confusion,” 62 n.62 in Trademark and Deceptive
   Advertising Surveys: Law, Science, and Design (Shari Seidman Diamond & Jerre B. Swann,
   eds., 2012) (Eveready “more closely resembles a partially aided awareness test: it assesses
   whether the junior user’s mark and product cues are similar enough to those of an accessible
   senior brand to trigger the latter’s schema in response to a source (or sponsorship or affiliation)
   confusion question”) (emphasis added).


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   case, the junior mark was used on a short-lived “men’s shopping magazine” that ran for only 20

   issues.20 WREAL’s contention that consumers are not aware of the Amazon Fire TV contradicts

   not just WREAL’s allegations that Amazon “saturate[d]the market and the evidence about

   Amazon’s advertising spending (Mot. at 8) but the near-universal recognition of the “Amazon”

   brand and the                                            of the Amazon Fire TV.21 Neither Dr.

   Maronick nor WREAL cites any authority for the proposition that an Eveready survey is

   inappropriate when the tested mark has been promoted by tens of millions of advertising dollars,

   sponsored by one of the world’s most recognized brands, resulting in                         .22

          Also, if WREAL is correct that consumers are not aware of the Amazon Fire TV, then

   confusion is impossible.23 WREAL claims it disputes Dr. Maronick’s admission that
                                             (SUF/RSUF ¶ 49), but its additional cited testimony

   makes Amazon’s point:                                confusion cannot be measured (id.) because

   it does not exist. Neither WREAL nor Dr. Maronick provides any explanation for how it is even

   logically possible for consumers to be confused by a mark                                This is

   20
      See Kargo Global, Inc. v. Advance Magazine Publishers, Inc., No. 06-550, 2007 WL 2258688,
   at **1, 8 (S.D.N.Y. Aug. 6, 2007); Denimafia Inc. v. New Balance Athletic Shoe, Inc., No. 12-
   4112, 2014 WL 814532, at *20 (S.D.N.Y. Mar. 3, 2014).
   21
      See ECF No. 214-4 (Sarel Dep. 195:7-9); Bageant Decl. Ex. 36 (Maronick Dep. at 70:17-20)
   (recognition of “Amazon” name); (Maronick Dep. 99:11-100:9) (total awareness of Amazon Fire
   TV). Amazon’s internal measurements of brand awareness are highly sensitive and confidential;
   Amazon respectfully requests the Court redact any information about specific awareness levels
   in any publicly filed order.
   22
      WREAL argues Dr. Maronick’s surveys showing no confusion are “inadmissible” because (1)
   they were “not conducted to test whether there is a likelihood of confusion” and (2) Amazon
   cannot (for some unexplained reason) rely on WREAL’s own expert’s admissions. Resp. at 19.
   The first point is contrary to Dr. Maronick’s sworn testimony. Bageant Decl. Ex. 36 (Maronick
   Dep. 43:12-17)
                                                        (emphasis added). The second is contrary to
   law. Fed. R. Civ. P. 56(c)(1)(A); In re Complaint of Boston Boat III, No. 13-62116, 2015 WL
   5444162, at *8 (S.D. Fla. Sept. 16, 2015) (relying on opposing experts’ admissions in granting
   summary judgment).
   23
      Mot. at 8-9; see 6 J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition,
   § 23:10 (2014) (“When few of the senior user’s customers will be exposed to or familiar with the
   junior user’s mark, there will be no ‘overwhelming’ or ‘swamping’ effect on the senior user’s
   mark and good will. In that case, reverse confusion will be unlikely.”) (emphasis added).


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   why other courts have rejected arguments similar to WREAL’s – arguing a survey is unreliable

   because                                                                   “is to argue against the

   theory of reverse confusion itself.” Fancaster, Inc. v. Comcast Corp., 832 F. Supp. 2d 380, 407

   (D.N.J. 2011).24

   B.     No Reasonable Fact-Finder Could Find Damages
          WREAL does not even attempt to rebut Amazon’s argument that

                                     Mot. at 20.25 WREAL asserts it has damages to “goodwill and
   brand identity,” (Resp. at 20) but these damages rest only on the self-serving and conclusory

   statements of WREAL’s Rodrigo Franco, which do not create a fact dispute.26 WREAL concedes

   it has lost money every year since its founding in 2007 and its revenues started declining in 2012,

   before Amazon launched the Amazon Fire TV. SUF/RSUF ¶¶ 16-17. WREAL does not offer

   any expert testimony to contradict the analysis of its financials by Amazon’s expert Pat Gannon,

   which demonstrates WREAL has sustained no damages. SUF/RSUF ¶ 17. A reasonable fact-

   finder could not award damages on this record. Mot. at 19-20.

                                        III.    CONCLUSION
          For the foregoing reasons, Amazon respectfully requests that the Court grant summary

   judgment in its favor.




   24
      WREAL also claims Dr. Sarel’s survey had various technical flaws (Resp. at 19), which
   Amazon already refuted (Mot. at 7-8).
   25
      As Amazon noted in its Motion (Mot. at 2 n.1), information about Amazon’s profits on the
   Amazon Fire TV is highly confidential; Amazon respectfully asks the Court redact that
   information in any publicly filed opinion.
   26
      Mr. Franco’s statements cited in RSUF ¶ 18 cannot supersede his sworn and unrebutted
   testimony that he could identify no actual damage WREAL has suffered. SUF ¶ 18; see
   Discovery Sun P’Ship, Ltd. v. Kapsomenakis, No. 95-1068, 2000 WL 1881203, at *4 (S.D. Fla.
   June 21, 2000) (non-movant’s “self-serving affidavit is insufficient to defeat a motion for
   summary judgment.”). In Aronowitz v. Health-Chem Corp., 513 F.3d 1229 (11th Cir. 2008)
   (cited in Resp. at 20), there was testimony as to the specific cost of particular damages items (id.
   at 1241), a far cry from Mr. Franco’s conclusory assertions.


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   Dated: November 20, 2015           Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

          I CERTIFY that on November 20, 2015, a true and correct copy of the foregoing was

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